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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                         Plaintiff,                        Civil Action No. 25-cv-205 (AMN)
                                                           (MJK)
        v.

STATE OF NEW YORK; KATHLEEN HOCHUL,
Governor of New York, in her official capacity;
LETITIA A. JAMES, Attorney General of New
York, in her Official Capacity; MARK J.
SCHROEDER, Commissioner of the New York
State Department of Motor Vehicles, in his Official
Capacity,

                         Defendants.


     NOTICE OF MOTION FOR LEAVE TO FILE AMICUS BRIEF IN SUPPORT OF
         DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT

        PLEASE TAKE NOTICE that upon the accompanying memorandum of law and attached

exhibits, amicus curiae Rural and Migrant Ministry Inc., The New York Immigration Coalition,

Hispanic Federation, Make the Road NY, and LatinoJustice PRLDEF, by their undersigned

attorneys, will move this Court, before the Honorable Anne M. Nardacci, at the James T. Foley

United States Courthouse, 445 Broadway, Albany, New York 12207, at a date and time to be

designated by the Court, for leave to file an amicus brief in support of Defendants’ motion to

dismiss the Complaint in this action, pursuant to the United States District Court for the Northern

District of New York’s Local Rule of Practice 7.2, and for such other and further relief as the Court

may deem just and proper.

 Dated:          New York, New York
                 April 1, 2025

                                           RURAL AND MIGRANT MINISTRY, INC.,
                                           NEW YORK IMMIGRANT COALITION,




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                                  HISPANIC FEDERATION, LATINOJUSTICE
                                  PRLDEF AND MAKE THE ROAD NEW YORK

                                  By their attorneys,
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was filed through the ECF system and will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants.



 Dated: April 1, 2025                             /s/ Kathleen A. Reilly
